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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                TM Healthcare Holdings, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  770 SE Indian Street
                                  Stuart, FL 34997
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Martin                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    TM Healthcare Holdings, LLC                                                                   Case number (if known)
          Name



7.   Describe debtor's business         A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                        B. Check all that apply
                                           Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9

     A debtor who is a “small              Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                    debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                 No.
     cases filed by or against
     the debtor within the last 8          Yes.
     years?
     If more than 2 cases, attach a
     separate list.                                District                                When                                  Case number
                                                   District                                When                                  Case number


10. Are any bankruptcy cases               No
    pending or being filed by a
    business partner or an                 Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                        Debtor                                                                    Relationship
                                                   District                                When                              Case number, if known


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Debtor   TM Healthcare Holdings, LLC                                                               Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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Debtor    TM Healthcare Holdings, LLC                                                              Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 17, 2020
                                                  MM / DD / YYYY


                             X   /s/ Paul Kamps                                                           Paul Kamps
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CFO




18. Signature of attorney    X   /s/ Bradley S. Shraiberg                                                  Date September 17, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Bradley S. Shraiberg 121622
                                 Printed name

                                 Shraiberg Landau & Page PA
                                 Firm name

                                 2385 NW Executive Center Dr
                                 Suite 300
                                 Boca Raton, FL 33431
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     561 443 0800                  Email address      bss@slp.law

                                 121622 FL
                                 Bar number and State




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 Fill in this information to identify the case:
 Debtor name TM Healthcare Holdings, LLC
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF                                                                                         Check if this is an
                                                FLORIDA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 BuzzBait                                                                                                                                                                   $2,000.00
 Consulting, LLC
 3600 S. Congress
 Ave, Suite M
 Boynton Beach, FL
 33426
 Florida Department                                              For Information                                                                                           Unknown
 of Revenue                                                      Purposes
 P.O. Box 6668
 Tallahassee, FL
 32314-6668
 Internal Revenue                                                For Information                                                                                           Unknown
 Service                                                         Purposes
 P.O. Box 7346
 Philadelphia, PA
 19114
 Internal Revenue                                                For Information                                                                                           Unknown
 Service                                                         Purposes
 Attn: Special
 Procedures
 P.O. Box 34045
 Stop 572
 Jacksonville, FL
 32202
 Jaken Medical, Inc.                                                                                                                                                              $7.80
 14279 Fern Ave
 Chino, CA 91710
 Key Bank, N.A.                                                  Deficiency Claim                              $58,000,000.00                    Unknown                   Unknown
 127 Public Square
 Cleveland, OH 44114
 Netsmart                                                                                                                                                                   $5,473.33
 Technologies, Inc.
 PO Box 823519
 Philadelphia, PA
 19182-3519




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    TM Healthcare Holdings, LLC                                                                        Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Office of Attorney                                              For Information                                                                                           Unknown
 General                                                         Purposes
 State of Florida
 The Capitol PL-01
 Tallahassee, FL
 32399-1050
 SEC Headquarters                                                For Information                                                                                           Unknown
 100 F Street, NE                                                Purposes
 Washington, DC
 20549
 Securities and                                                  For Information                                                                                           Unknown
 Exchange                                                        Purposes
 Commission
 801 Brickell Ave.,
 Suite 1800
 Miami, FL 33131
 United States                                                   For Information                                                                                           Unknown
 Attorney General's                                              Purposes
 Office
 US Department of
 Justice
 950 Pennsylvania
 Avenue
 Washington, DC
 20530-0001
 US Attorney                                                     For Information                                                                                           Unknown
 Southern District of                                            Purposes
 Florida
 500 South
 Australian Avenue
 Suite 400
 West Palm Beach,
 FL 33401
 Williams & Connolly                                                                                                                                                            $37.00
 LLP
 725 12th St NW
 Washington, DC
 20005




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                                                               United States Bankruptcy Court
                                                                     Southern District of Florida
 In re      TM Healthcare Holdings, LLC                                                                 Case No.
                                                                                  Debtor(s)             Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the CFO of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to the

best of my knowledge.




 Date:       September 17, 2020                                        /s/ Paul Kamps
                                                                       Paul Kamps/CFO
                                                                       Signer/Title




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            BuzzBait Consulting, LLC
            3600 S. Congress Ave, Suite M
            Boynton Beach, FL 33426


            Florida Department of Revenue
            P.O. Box 6668
            Tallahassee, FL 32314-6668


            Internal Revenue Service
            P.O. Box 7346
            Philadelphia, PA 19114


            Internal Revenue Service
            Attn: Special Procedures
            P.O. Box 34045
            Stop 572
            Jacksonville, FL 32202


            Jaken Medical, Inc.
            14279 Fern Ave
            Chino, CA 91710


            Key Bank, N.A.
            127 Public Square
            Cleveland, OH 44114


            Netsmart Technologies, Inc.
            PO Box 823519
            Philadelphia, PA 19182-3519


            Netsmart Technologies, Inc.
            3500 Sunrise Highway, Suite D122
            Great River, NY 11739


            Office of Attorney General
            State of Florida
            The Capitol PL-01
            Tallahassee, FL 32399-1050


            SEC Headquarters
            100 F Street, NE
            Washington, DC 20549
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        Securities and Exchange Commission
        801 Brickell Ave., Suite 1800
        Miami, FL 33131


        United States Attorney General's Office
        US Department of Justice
        950 Pennsylvania Avenue
        Washington, DC 20530-0001


        US Attorney Southern District of Florida
        500 South Australian Avenue
        Suite 400
        West Palm Beach, FL 33401


        Williams & Connolly LLP
        725 12th St NW
        Washington, DC 20005
